  Case 23-01153       Doc 52     Filed 07/26/23 Entered 07/26/23 15:42:46            Desc Main
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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION
       In Re:                        )     Case No. 23-01153
                                     )
       Jason J. Barth                )     Chapter 13
                                     )
                      Debtor(s)      )     Judge: Timothy A. Barnes
       ___________________________________________________________________
                                      NOTICE OF FILING
TO:    Thomas H. Hooper, Chapter 13 Trustee, via electronic court notice

       TD Bank, N.A., c/o Kathryn Klein, Esq, via electronic court notice



       PLEASE TAKE NOTICE that on July 26, 2023, the undersigned caused to be filed with

the Clerk of the United States Bankruptcy Court for the Northern District of Illinois, Eastern

Division the DEBTOR’S REPLY TO TD BANK, N.A. SUCCESSOR IN INTEREST TO

TD AUTO FINANCE LLC’S RESPONSE.


                                                     By:     /s/ David H. Cutler




                                 CERTIFICATE OF SERVICE

       David Cutler, an attorney, certifies that he served a copy of this notice and the attached
Reply to be served on the parties addressed above by electronic court notice on July 26, 2023.

                                                                             /s/ David H. Cutler



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